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                             United StatesDistrict Court
                                         District of Maryland

         ONlTF;DSTATESOFAMEftje~~~D                      ==J!'~~ENT        IN A CRIMINAL CASE
                              -                             (For OffensesCommittedon or After November1, 1987)

                                           JUL.   0 8 l~Jse Number:RDB-05-038
                WILTON BRITTON                ~T~rii~~.1Ii~Number: 10595-054
                                         .wm~~~~                           Attorney:
                                                                                  JOSEPH
                                                                                       BALTER
                                    It
                                                             Assistant U.S. Attorney: CHRISTOPHER ROMANO

THE DEFENDANT:
[i pleadedguilty to count
I:J pleadednolo contendereto count(s)             ---,         which was acceptedby the court.
I:J was found guilty on count(s)                  after a plea of not guilty.

                                                                                    Date                Count
     Title & Section                 Nature of Offense                        Offense Concluded        Number(s)
      18§2113(a)(t)                   Bank robbery 1                            January3, 2005


   The defendantis adjudgedguilty of the offenseslisted aboveand sentencedasprovidedin pages2 through
   6 of thisjudgment. The sentenceis imposedpursuantto the SentencingReformAct of 1984asmodified by
U.S. v. Booker, 125 S. Ct. 738 (2005).




   IT IS FURTHER ORDERED that the defendant shall notify the United StatesAttorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessmentsimposed by this judgment are fully paid.

                                                                June28. 2005c,,~
                                                             Date of Imposition of Jud~t


                                                              -. .~~J~,.~,,~)                     ~,,"t '7;.2~.~
                                                             Richard D. Bennett                                    Date
                                                             United StatesDistrict Judge



Nameof Court Reporter: L. Bankins




c.
      f--~
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U:s.DISTRICTCOURT                  I1Jentin a Criminal Casewith S   ised Release                Jud    e 2 of 6

DEFENDANT:           WILTON     BRITTON                                            CASE NUMBER: RDB-O5-038



                                              IMPRISONMENT

    The defendantis herebycommittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfor
a total term of ~    monthswith creditfor time servedfromJanuary6, 2005.

[i The court makesthe following recommendationsto the Bureauof Prisons:
   That the defendantbe designatedto the FCI at Butner,NC for serviceof his sentence.
   That the defendantparticipatein any appropriatementalhealthevaluationand treatmentprogram.

[i The defendantis remandedto the custodyof the United StatesMarshal.

I:J The defendantshall surrenderto the United StatesMarshalfor this district:

   D at              a.m./p.m.on   -

   D asnotified by the United StatesMarshal.
[J The defendantshall surrender,at his/herown expense,to the institution designatedby the Bureauof Prisonsat
    the dateandtime specifiedin a written notice to be sentto the defendantby the United StatesMarshal. If the
    defendantdoesnot receivesucha written notice, defendantshall surrenderto the United StatesMarshal:

    D before2 p.m. on
A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penaltiesof Title 18 V.S.C. §3146. If convicted of an offensewhile on release,
the defendant shall be subject to the penalties set forth in 18 V.S.C. §3147. For violation of a condition of
release,the defendant shall be subject to the sanctions set forth in Title 18 V.S.C. §3148. Any bond or
property posted may be forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

                                                       RETURN
I haveexecutedthis judgment as follows:




                                                           UNITED STATESMARSHAL


                                                By:
                                                           DEPU1YU.s. MARSHAL
U.::...DISTRICTCOURT   Case 1:05-cr-00038-RDB
                                      mentin a CriminalDocument      17 Release
                                                       Casewith Su ervised Filed 07/08/05 Page 3 of 6
                                                                                                    Jud              ent Pa e 3 of 6

DEFENDANT:                WIL TON BRITTON                                               CASE NUMBER: RDB-OS-O38

                                               SUPERVISED RELEASE
    Upon releasefrom imprisonment,the defendantshall be on supervisedreleasefor a term of                            3 years           .

The defendant shall comply with all of the following conditions:

   The defendantshall report to the probationoffice in the district to which the defendantis releasedwithin 72
hoursof releasefrom the custodyof the Bureauof Prisons.

                        A.     STATUTORY CONDmONS OF SUPERVISED RELEASE

      1) The defendant shall not commit any federal, state or local crime.
     2) In any felony case,the defendant shall not possessa firearm or ammunition as defined in 18 U.S.C. §921.
     3) The defendant shall not illegally use or possessa controlled substance.
     4) The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as directed by the probation officer.
     I:J The above drug testing condition is suspendedbasedon the court's determination that the defendant
         poses a low risk of future substanceabuse. (Check, if applicable.)
     5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of
2004, if applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau of
Prisons, or as directed by the probation officer.
     6) If this judgment imposes any criminal monetary penalty, including special assessment,fine, or restitution,
it shall be a condition of supervised releasethat the defendant pay any such monetary penalty that remains unpaid
at the commencement of the tenn of supervised release in accordancewith the Schedule of Payments set forth in
the Criminal Monetary Penalties sheetof this judgment. The defendant shall notify the court of any material change
in the defendant's economic circumstances that might affect the defendant's ability to pay restitution, fines, or
special assessments.

                          B.      STANDARD CONDITIONS OF SUPERVISION
1) The defendantshall not leavethejudicial district without the pennissionof the court or probationofficer;
2) The defendantshall report to the probationofficer and shall submita truthful and completewritten report within the first five days
    of eachmonth;
3) The defendantshall answertruthfully all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
4) The defendantshall supporthis or her dependentsand meetother family responsibilities;
5) The defendantshall work regularly at a lawful occupationunlessexcusedby the probationofficer for schooling,training, or other
    acceptablereasons;
6) The defendantshall notify the probationofficer ten daysprior to any changein residenceor employment;
7) The defendantshall refrain from excessiveuseof alcohol;
8) The defendantshall not frequentplaceswherecontrolledsubstances        are illegally sold, used,distributed,or administered;
9) The defendantshall not associatewith anypersonsengagedin criminal activity, and shall not associatewith anypersonsconvicted
    of a felony unlessgrantedpennissionto do so by the probationofficer;
10) The defendantshall pennit a probationofficer to visit him or her at any time at homeor elsewhereand shall pennit confIScationof
    any contrabandobservedin plain view of the probationofficer;
11) The defendantshall notify the probationofficer within 72 hoursof being arrestedor questionedby a law enforcementofficer;
12) The defendantshall notify the probationofficer within 72 hoursof being chargedwith any offense,including a traffic offense;
13) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
    pennission of the court;
14) As directedby the probation officer, the defendantshall notify third partiesof risks that may be occasionedby the defendants's
    criminalrecordorpersonal historyor characteristics,
                                                      andshallpermittheprobationofficer to makesuchnotificationsandto confirm
    the defendant'scompliancewith suchnotification requirement.
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DEFENDANT:              WILTON BRITTON                                                    CASE NUMBER: RDB-O5-038

                                       C. SUPERVISED
                                                   RELEASE
                                        ADDITIONAL CONDITIONS



    That the Defendantbe giveninpatientpsychiatrictreatmentfor a period of 6 monthsfollowed by 500hoursof
    Intensivecommunitydrug treatment.

    The defendantshall satisfactorilyparticipatein a treatmentprogramapprovedby the probationofficer relating
    to substanceand/oralcoholabuse,which may includeevaluation,counseling,andtestingasdeemednecessary
    by the probationofficer.
    The defendantshall satisfactorilyparticipatein a mentalhealthtreatmentprogramapprovedby the probation
    officer, which may include evaluation,counseling,andtestingasdeemednecessaryby the probationofficer.

    The defendant shall satisfactorily participate in a vocational or educational program as directed by the probation
    officer.

    The defendantnot be placedin anytype of half way house

     The defendantshall makerestitutionpaymentsfrom any wageshe may earnin prison in accordancewith the
     BureauOf Prisonsfinancial responsibilityprogramandanyportion of the restitutionthat is not paid in full at
     the time of his releasefrom imprisonmentshall becomea condition of his supervision.

     The defendantshall notify the U.S. Attorneysoffice for the District of Marylandwithin 30 daysof anychange
     of mailing or residenceaddressthat occurswhile anyportion of the restitutionremainsunpaid..
u.s. DISTRICT COURT
                      Case 1:05-cr-00038-RDB
                            Sheet5, Part A - Jud
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                                                 nt in a Criminal Casewith Su ervisedRelease  Jud      e 5 of 6

DEFENDANT:               WILTON        BRITTON                             CASE NUMBER: RDB-O5-038

                                  CRIMINAL MONETARY PENAL TIES
   The defendantshall pay the following total criminal monetarypenaltiesin accordancewith the scheduleof
paymentsset forth on Sheet5, Part B.

                                        Assessment
    Totals:                      $         100.00                $

I:J If applicable,restitution amountorderedpursuantto plea agreement.                 . $

                                                         FINE
    The defendantshall pay intereston any rme of morethan $2,500,unlessthe fine is paid in full beforethe 15th
day afterthe dateof judgment,pursuantto 18V.S.C. §3612(f). All of thepaymentoptionson Sheet5, PartB may
be subjectto penaltiesfor default anddelinquencypursuantto 18V.S.C. §3612(g).

[iJ The court hasdetemrinedthat the defendantdoesnot havethe ability to pay a fine; therefore,a fine is waived.
D The court hasdeterminedthat the defendantdoesnot havethe ability to pay interestandit is orderedthat:
  D The interestrequirementis waived.
    I:J The interestrequirementis modified asfollows:



                                                  RESTITUTION
I:J The detenninationof restitution is deferreduntil                             An AmendedJudgmentin a
    Criminal Casewill be enteredafter suchdetemlination.

I:J The defendantshall makerestitutionto the following payeesin the amountslisted below.

   If the defendantmakes a partial payment. eachpayeeshall receive an approximately proportional payment unless
specified otherwise in the priority order or percentagepayment column below.


          Name ofPavee                                  Amount of                       Priority Order or
ProvidentBank                                       Restitution Ordered                Percental!ePayment
6632 ReisterstownRoad                       $ 2,287.00
Baltimore,Maryland 21215
payableto the Clerk of the Court for
disbursementto the victim.
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U.S. DISTRICT COURT Rev.4/2004 Sheet5, Part tl - Jud
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                                             ent in a Criminal Casewith Su ervisedRelease  Jud             en! Pa e 6 of 6
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DEFENDANT:                     WIL TON BRITTON                                      CASE NUMBER: RDB-OS-O38

                                               SCHEDULE OF PAYMENTS
   Paymentsshall be appliedin the following order:(1) assessment;
                                                               (2) restitution;(3) fine principal; (4) cost of
prosecution;(5) interest;and (6) penalties.

          Paymentof the total fine andother criminal monetarypenaltiesshall be due asfollows:

A [i In full immediately;or

B I:J $.                       immediately.balancedue (in accordancewith C. D, or E); or

C         D Not   later than     .-   -,                 ; or

D [J Installments
                to commence                            day(s)after the dateof this judgment.

E /:J1n                                                                                                    over a period
      of

The defendantwill receive credit for all paymentspreviously madetoward any criminal monetarypenalties imposed.

Unless the court expressly orders otherwise, if this judgment imposesa period of imprisonment, payment of criminal
monetary penalties shall be due during the period of imprisonment. All criminal monetary penalties except those
paymentsmade through the Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk
of the Court..

If the entire amountof criminal monetarypenaltiesis not paid prior to the commencementof supervision,the
balanceshall be paid:

          I:J in equalmonthly installmentsduring the tenn of supervision;or

          I:J on a nominal paymentscheduleof $                       per month during the tenn of supervision.

The U.S. probationofficer mayrecommenda modification of thepaymentscheduledependingon the defendant's
financial circumstances.

Specialinstructionsregardingthe paymentof criminal monetarypenalties:

          D Joint and Severalwith:
          D The defendantshall pay the following costsof prosecutionand/orcourt costs:
